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                   14                               UNITED STATES DISTRICT COURT

                   15                             NORTHERN DISTRICT OF CALIFORNIA

                   16                                       OAKLAND DIVISION

                   17

                   18   In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR (VKD)
                        Litigation,
                   19                                                   DEFENDANT GOOGLE LLC’S EMERGENCY
                                                                        MOTION TO STRIKE PLAINTIFFS’ EXHIBITS
                   20                                                   TO JOINT LETTER BRIEF (ECF NO. 269)
                        This Document Relates to: all actions,
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ATTORNEYS AT LAW                                                                                DEF.’S MOT. TO STRIKE
 SAN FRANCISCO                                                                                 LETTER BRIEF EXHIBITS
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                    1          Plaintiffs in this action continue to behave as if this Court’s rules and prior orders do not
                    2   apply to them. For the third time in just five weeks, Plaintiffs seek to prejudice Defendant Google
                    3   LLC (“Google”) and burden this Court with unauthorized and excessive filings in direct violation
                    4   of this Court’s Standing Order and the District Court’s Order concerning cross-use of discovery.
                    5   (See ECF Nos. 240-4 to -12, 251.) Plaintiffs have once again appended a highly argumentative
                    6   twelve-page attorney “declaration” (ECF Nos. 271-1, 272, the “Weaver Declaration”),
                    7   accompanied by thirteen exhibits from the Calhoun v. Google LLC action (ECF Nos. 271-3 to -16,
                    8   272-2 to -13, the “Exhibits”), to their position statement in the Parties’ Discovery Letter Brief dated
                    9   July 29, 2022 (ECF No. 268-3, the “Letter Brief”). Plaintiffs’ submission of these materials is
                   10   wholly improper and Google respectfully moves the Court for an order striking the Weaver
                   11   Declaration and the Exhibits, and further requests that the Court issue an order precluding Plaintiffs
                   12   from serially filing confidential Calhoun discovery in this case without prior leave of Court.
                   13   Google’s request is justified for three independent reasons.
                   14          First, Plaintiffs have violated the unambiguous restrictions on discovery letter briefs and
                   15   their attachments set forth in this Court’s Standing Order for Civil Cases (the “Standing Order”).
                   16   That order provides for “1500 words per party” and mandates that apart from “the specific
                   17   discovery material at issue and the responses, if any, to it . . . no other exhibits may be attached to
                   18   the letter, absent leave of Court.” (Standing Order ¶ 4(c)(ii), (vi) (emphasis added).) But without
                   19   seeking leave, Plaintiffs have filed—simultaneously with the Letter Brief—the Exhibits and the
                   20   Declaration, which runs over 3,200 words and is replete with arguments that often read like a brief
                   21   advancing Plaintiffs’ position based on various materials produced in Calhoun.1 (See, e.g.,
                   22   Declaration ¶ 3(c) (“Google possesses information about Named Plaintiffs’ account settings and
                   23   devices that it has not produced here – and in fact has asked Named Plaintiffs to produce back to
                   24   Google, in part. Because Named Plaintiffs do not possess a complete set of this information, Google
                   25   should produce it immediately.”).) Such “legal argument” is “not appropriate for a declaration”
                   26   under any circumstances. Silver v. Exec. Car Leasing Long-Term Disability Plan, 466 F.3d 727,
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                          Google conveyed to Plaintiffs its position that the filings subject to this motion violate the
                   28   Standing Order and inquired whether Plaintiffs planned to seek leave; Plaintiffs confirmed that they
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                        did not.
ATTORNEYS AT LAW                                                                                        DEF.’S MOT. TO STRIKE
 SAN FRANCISCO                                                            2                            LETTER BRIEF EXHIBITS
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                    1   732 n.2 (9th Cir. 2006); see also Civ. L.R. 7-5(b) (“An affidavit or declaration may contain only
                    2   facts, must conform as much as possible to the requirements of Fed. R. Civ. P. 56(e), and must
                    3   avoid conclusions and argument.”). That is especially true here, where Plaintiffs have flouted
                    4   Paragraph 4 of the Standing Order to claim more than triple the 1,500 words allotted for the position
                    5   statement in the Letter Brief. The Declaration’s thirteen exhibits are equally improper, barred by
                    6   the Standing Order’s plain language.
                    7          Second, Plaintiffs’ Motion also directly contravenes Judge Gonzalez Rogers’ order denying
                    8   Plaintiffs’ Motion for cross-use of Calhoun discovery. Plaintiffs nonsensically claim that the
                    9   order—which denied Plaintiffs’ request for cross-use—somehow authorizes them to file the
                   10   Declaration and Exhibits without prior leave of Court. (See Letter Br. at 1 (stating that Plaintiffs
                   11   submit these additional materials “[p]ursuant to the procedure set forth in Judge Gonzalez Rogers’
                   12   June 24, 2022 Order”).) That is absurd. Judge Gonzalez Rogers did not issue Plaintiffs carte
                   13   blanche to raise yet more arguments regarding Calhoun discovery wherever and however they
                   14   chose, but instead set forth a narrow process to allow the Court to consider specific discovery after
                   15   Plaintiffs had demonstrated the need for such discovery or that Google had “misrepresented the
                   16   nature or existence of certain information to Judge DeMarchi.” (See ECF No. 242.) Nowhere did
                   17   the District Court’s order suggest that Plaintiffs could simply attach troves of Calhoun discovery
                   18   to virtually every filing, as is their new strategy, or that they could ignore other procedural
                   19   requirements, such as Paragraph 4(c)(vi) of the Standing Order, when presenting such submissions.
                   20   Indeed, this practice even contravenes Plaintiffs’ own proposal to establish a process to address the
                   21   relevance of Calhoun discovery which is currently pending before the Court. (ECF No. 252.) In
                   22   that request, Plaintiffs represented that Judge Gonzalez Rogers’s order “envision[ed] a presentation
                   23   to the Court by Ms. Weaver demonstrating the need for certain Calhoun discovery in this action”—
                   24   and not, as they now contend, free rein to introduce such discovery at any and every juncture. (ECF
                   25   No. 252 at 1.)
                   26          Third, Plaintiffs’ interpretation of the District Court’s order is both inefficient and
                   27   prejudicial to Google in multiple respects.
                   28          Plaintiffs’ excessive argument and evidence burdens the Court and denies Google a chance
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ATTORNEYS AT LAW                                                                                       DEF.’S MOT. TO STRIKE
 SAN FRANCISCO                                                           3                            LETTER BRIEF EXHIBITS
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                    1   to respond without itself exceeding the word limits of the Standing Order. (See June 7, 2022 Tr. at
                    2   113:14-19 (setting procedures for requesting leave for additional argument and noting that improper
                    3   filings “can “destroy[] the whole efficiency” and that “[y]ou should be able, in a short amount of
                    4   space, to tell me why something is relevant and proportional. You really should.”).) Likewise,
                    5   rather than giving the Court the opportunity to resolve the question of cross-use with the Calhoun
                    6   action once and for all, Plaintiffs seek to litigate the issue piecemeal, raising it in virtually every
                    7   discovery dispute. And as Google has previously noted, Plaintiffs’ submission of Calhoun exhibits
                    8   on the abbreviated schedule that governs discovery letter briefing prejudicially denies Google’s
                    9   counsel the chance to properly evaluate and respond to those unfamiliar and technical exhibits,
                   10   since separate counsel represent Google in Calhoun and in this litigation. (See ECF No. 254 at 3-
                   11   4.) And each time Plaintiffs file these unauthorized materials, Google is forced to undertake the
                   12   costly and burdensome procedure of individually assessing the materials’ confidentiality and filing
                   13   a motion to seal voluminous discovery that is not even properly before the Court.
                   14          Plaintiffs’ strategy of serially citing Calhoun discovery is prejudicial for the additional
                   15   reason that Plaintiffs have misused Google’s confidential information. The District Court’s Order
                   16   “authorize[d] Lesley E. Weaver only to present discovery from the Calhoun action under seal to
                   17   Judge DeMarchi[.]” (ECF No. 242 (emphasis added).) Yet Plaintiffs have violated both this
                   18   requirement and the Calhoun protective order by including in the Letter Brief unredacted Calhoun
                   19   information shared with co-counsel who is not authorized to access such information. (See Letter
                   20   Br. at 2-3.) This infraction only underscores the pressing need for this Court to establish clear rules
                   21   to compel Plaintiffs to comply with the District Court’s cross-use order and present Calhoun
                   22   discovery in an orderly fashion and only after obtaining leave of Court.
                   23          Plaintiffs’ current gambit is no different from their two previous attempts to file excessive
                   24   briefing on Calhoun-related matters without the Court’s permission. This Court already struck a
                   25   similar unauthorized declaration and its exhibits “for failure to comply with the word limits” it had
                   26   set (see ECF No. 246), and Plaintiffs’ opposed motion to file nearly 850 pages of a prohibited sur-
                   27   reply and its exhibits remains pending. (See ECF Nos. 251, 253.) This Court should not reward
                   28   these wasteful and improper filings and should accordingly strike the Declaration and the Exhibits
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ATTORNEYS AT LAW                                                                                        DEF.’S MOT. TO STRIKE
 SAN FRANCISCO                                                            4                            LETTER BRIEF EXHIBITS
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                    1   from the record and disregard those portions of Plaintiffs’ position statement relying on these
                    2   materials in the Letter Brief.2 Google additionally requests that the enter Court an Order precluding
                    3   Plaintiffs from filing confidential Calhoun discovery in this case without prior leave of Court, and
                    4   issue other appropriate relief that protects Google from incurring legal fees to keep responding to
                    5   such improper filings.
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                    7   Dated: August 1, 2022                                COOLEY LLP
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                                                                             By: /s/ Aarti Reddy
                   10                                                            Aarti Reddy
                   11                                                        Attorney for Defendant
                                                                             GOOGLE LLC
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                          Google respectfully submits that it should not be required to file a separate motion to seal the
                   28   Declaration and Exhibits, and requests that the Court order these documents sealed if they are not
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                        stricken from the record.
ATTORNEYS AT LAW                                                                                        DEF.’S MOT. TO STRIKE
 SAN FRANCISCO                                                           5                             LETTER BRIEF EXHIBITS
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